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 8                         UNITED STATES DISTRICT COURT

 9               CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

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11                                          CASE NO. CV 21-00928-AB(AS)
      RICKEY LOUIS ALFORD, aka
12                                                      JUDGMENT
      Morris Day,
13

14                      Petitioner,

15          v.

16    KATHLEEN ALLISON, Secretary of
      the California Department of
17    Corrections and
      Rehabilitation,
18

19                      Respondent.
20

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22
           Pursuant to the Order Accepting Findings, Conclusions and
23
     Recommendations of United States Magistrate Judge,
24
     //
25

26   //

27   //

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Case 2:21-cv-00928-AB-AS Document 20 Filed 09/22/21 Page 2 of 2 Page ID #:150



 1         IT IS ADJUDGED that the Petition is denied and dismissed
 2   without prejudice.
 3
           DATED: September 22, 2021
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 6                                             ___________    _________ ____
                                                      ANDRÉ BIROTTE JR.
 7                                              UNITED STATES DISTRICT JUDGE

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